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               IN THE UNITED STATES DISTRICT COURT
             FOR THE DISTRICT OF DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,


                                       Case No. 23-cr-239 (CKK)
     v.

ILYA LICHTENSTEIN and HEATHER
MORGAN,

          Defendants.




MEMORANDUM OF LAW OF THIRD-PARTY INTERVENOR AND VICTIM IFINEX
  INC. IN SUPPORT OF THE GOVERNMENT’S REQUEST FOR RESTITUTION
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       Third-Party Intervenor and Victim iFinex Inc. (“Bitfinex”) submits this memorandum of

law and accompanying exhibits in support of the Government’s request (ECF Nos. 170, 202),

unopposed by Defendants Ilya Lichtenstein (“Lichtenstein”) and Heather Morgan (“Morgan”)

(together, “Defendants”), that the Court order Defendants to pay Bitfinex in-kind restitution

pursuant to their plea agreements, Lichtenstein Plea Agreement, ECF No. 96; Morgan Plea

Agreement, ECF No. 101, the Mandatory Victims Restitution Act, 18 U.S.C. § 3663A (the

“MVRA”), 18 U.S.C. § 3664, and the Crime Victims’ Rights’ Act, 18 U.S.C. § 3771 (the

“CVRA”), of all Bitcoins seized from Defendants that are traceable to Bitfinex.

                                PRELIMINARY STATEMENT

       Bitfinex is the undisputed victim of Defendants’ criminal conduct: The brazen theft of

119,754 Bitcoins from Bitfinex and subsequent attempted laundering of those Bitcoins.

Lichtenstein hacked into Bitfinex’s systems, misappropriated Bitfinex’s private keys necessary to

access Bitfinex’s cryptocurrency wallets, and stole 119,754 Bitcoins directly from Bitfinex. The

Government and Defendants agree on these facts and agree that Bitfinex was the target and victim

of Defendants’ scheme. The Government and Defendants also agree that the vast majority of the

Bitcoins seized from Defendants are the same Bitcoins that were stolen from Bitfinex, and that

Defendants can and should be ordered to return that stolen property to Bitfinex as restitution—as

the MVRA requires in any property theft case.

       First, Bitfinex supports the Government’s request that, pursuant to the MVRA and

Defendants’ plea agreements, the Court order Defendants to pay in-kind restitution to Bitfinex of

all seized Bitcoins that are traceable to Bitfinex. Because both Defendants’ plea agreements—

negotiated by the Government and approved by the Court—designate Bitfinex as the proper

recipient of restitution, that restitution is mandatory pursuant to 18 U.S.C. § 3663A(a)(3). Bitfinex


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also uniquely qualifies for mandatory restitution as the direct victim of Defendants’ offenses

pursuant to 18 U.S.C. § 3663A(a)(1).        The Government, Defendants, and the Court have

consistently defined Defendants’ money laundering conspiracy to encompass Lichtenstein’s theft

of 119,754 Bitcoins from Bitfinex—the predicate criminal conduct for Defendants’ money

laundering. The Government defined Bitfinex as the “VICTIM VCE” in the charges against

Defendants, and it has consistently represented to the Court that “[t]he victim’s name is Bitfinex.”

Lichtenstein Plea Tr., ECF No. 110 at 23:5-7; Complaint Ex. A (“Statement of Facts”), ECF No.

1-1. At sentencing, the Court correctly described Lichtenstein’s offense as “a scheme to steal

money from Bitfinex.” Lichtenstein Sentencing Tr., ECF No. 182 at 63:18-20. Under either basis

for restitution, as the Government recognizes, Defendants must pay Bitfinex in-kind restitution of

the Bitcoins that Lichtenstein stole from it, including the 94,643 Bitcoins seized from

Lichtenstein’s hack wallet. The Court should also order Defendants to return to Bitfinex an

additional 15,085 Bitcoins seized by the Government which are traceable to the Hack and which

are the same Bitcoins Lichtenstein stole from Bitfinex.

       Second, the claims of a handful of Bitfinex customers do not affect Bitfinex’s right to in-

kind restitution. As the Government argues, Bitfinex customers did not incur losses as a direct and

proximate result of Defendants’ offenses. See Government’s Supplemental Motion Regarding

Restitution, ECF No. 202 at 2-3. Defendants acknowledge that they targeted Bitfinex, not its

customers. After the hack, Bitfinex honored customer Bitcoin positions and balances regardless

of whether they involved the stolen Bitcoins. While Bitfinex temporarily assigned its losses to

customers across all assets, it made its customers whole within months of the hack. To the extent

some customers believe in hindsight that they were not adequately compensated by Bitfinex, those

claims are far too attenuated from Defendants’ offenses for those customers to be victims. But


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regardless of whether other persons seek restitution, the claims of a few individuals do not

implicate the highly limited exceptions to mandatory restitution. And only Bitfinex is entitled to

in-kind restitution of the specific Bitcoins stolen from Bitfinex wallets using its private keys. If

the Court grants restitution to any individual based on his or her idiosyncratic circumstances, that

obligation can easily be satisfied by other assets seized from Defendants.

       Bitfinex respectfully requests that the Court grant the Government’s request for an order

requiring Defendants to pay in-kind restitution to Bitfinex of the Bitcoins that Lichtenstein stole

from Bitfinex, including 94,643 Bitcoins seized from the original hack wallet and also at least

15,085 later-seized Bitcoins that are the same Bitcoins stolen from Bitfinex.

                                   STATEMENT OF FACTS

       A.      Bitfinex Is One of the World’s Premier Cryptocurrency Exchanges

       Bitcoin is the original cryptocurrency. See Exhibit A, Declaration of Matthew Price (“Price

Decl.”) ¶ 11. Bitcoin exists on the Bitcoin blockchain, a ledger of every Bitcoin transaction in

history. Id. ¶ 12. Bitcoin and other cryptocurrencies are stored in cryptocurrency wallets. Id. ¶

20. Cryptocurrency wallets can have multiple wallet addresses, which are like account numbers,

holding Bitcoin or other cryptocurrency. Id. The owner of each wallet address has one or more

private keys—equivalent to a password or PIN—that are necessary to authorize transactions of

cryptocurrency at the wallet address. Id. ¶¶ 20-21.

       Bitfinex is a British Virgin Islands company and the operator of one of the world’s premier

virtual currency exchanges. See Exhibit G, Declaration of Bjorn de Wolf (“Wolf Decl.”) ¶ 2. It is

the “victim virtual currency exchange” or “VICTIM VCE” referred to in Defendants’ Statements

of Offense and throughout the charging documents in this case. See Statement of Facts, ECF No.

1-1; Information, ECF No. 89; Lichtenstein Statement of Offense, ECF No. 95; Morgan Statement


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of Offense, ECF No. 100; Consent Motion, ECF No. 141; ECF No. 143; ECF No. 146. Bitfinex

customers engage in a variety of cryptocurrency transactions; in 2016, those transactions included

spot purchases and sales, short sales, margin trades, and borrowing and lending. Ex. G, Wolf Decl.

¶ 2. Bitfinex predominately served non-U.S. customers in 2016, and it does not permit U.S.

persons to become customers today. Id. ¶ 3.

       In 2016, Bitfinex used multi-signature wallets. Id. ¶ 4. Multi-signature wallets require

multiple private keys to authorize transactions of cryptocurrency. Ex. A, Price Decl. ¶ 21. Bitfinex

held at least two private keys to the vast majority of its cryptocurrency wallets. Ex. G, Wolf Decl.

¶4. Bitfinex also contracted with a third-party security service called BitGo, which typically held

an additional private key. Id. BitGo could only use its single private key (together with one of

Bitfinex’s private keys) to authorize Bitfinex wallet transactions following instructions from

Bitfinex. Id.

       Bitfinex created one or more wallet addresses corresponding to each customer’s Bitfinex

account to use for, among other things, depositing Bitcoin. Id. ¶ 5. But Bitfinex controlled those

wallet addresses and the Bitcoin therein. Id.; see also Ex. A, Price Decl. ¶¶ 69-70. Bitfinex, not

its customers, controlled the multiple private keys necessary to authorize transactions using the

Bitfinex deposit wallet addresses, including its own private keys and a single private key held by

BitGo. Ex. G, Wolf Decl. ¶ 5. The vast majority of customers did not hold any private keys to

their Bitfinex deposit wallet addresses, and none of them held the multiple private keys needed to

authorize wallet transactions. 1 Id. ¶¶ 6, 8. Bitfinex also routinely created and controlled thousands


1
 For a limited period in 2016, a small subset of U.S. customers who had margin accounts on the
Bitfinex exchange could obtain a single private key to their Bitfinex deposit wallet addresses. Wolf
Decl. ¶ 6. However, even those customers still lacked the two private keys necessary to directly
authorize transactions using the wallets. Id.

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of other wallet addresses to hold Bitcoin and facilitate Bitfinex exchange transactions. Id. ¶ 7.

        Because Bitfinex customers did not hold the private keys to and could not directly

authorize transactions involving the Bitfinex deposit wallet addresses, they entered transactions on

the Bitfinex website. Id. ¶ 8. Those transactions would then be reflected in the customer’s Bitfinex

account on the Bitfinex website, but they would not immediately be reflected in Bitfinex’s wallets

or on the blockchain. Id. Instead, Bitfinex periodically used its private keys to settle transactions

and reconcile customer positions by transferring cryptocurrency between various Bitfinex

exchange wallet addresses, including Bitfinex customer deposit wallet addresses. Id. Bitfinex’s

control of the various types of Bitfinex exchange wallets was essential to the functioning of the

Bitfinex exchange.

       B.      Lichtenstein Stole 119,754 Bitcoins From Bitfinex By Hacking Bitfinex And
               Misappropriating Its Private Keys

       Lichtenstein pled guilty and admitted to devising and executing a scheme to steal Bitcoins

from Bitfinex in 2016.       Lichtenstein identified and compromised Bitfinex’s information

technology systems, defeating numerous security measures on Bitfinex’s network.                  See

Lichtenstein Statement of Offense, ECF No. 95, ¶ 12; Lichtenstein Plea Tr., ECF No. 110 at 22:8-

24. Having compromised Bitfinex’s networks, Lichtenstein misappropriated Bitfinex’s private

keys necessary to access Bitfinex cryptocurrency wallets. Lichtenstein Statement of Offense, ECF

No. 95 ¶¶ 12-14.

       On or about August 2, 2016, Lichtenstein used Bitfinex’s private keys and credentials to

initiate 2,072 unauthorized Bitcoin transactions from Bitfinex wallets (the “Hack”). Lichtenstein

transferred 119,754 Bitcoins (the “Stolen Bitcoins”) directly from the Bitfinex wallets to addresses

in a cryptocurrency wallet under his control (the “Hack Wallet”). See Lichtenstein Sentencing

Memo, ECF No. 146 at 2; Statement of Facts, ECF No. 1-1, ¶ 4; Lichtenstein Statement of Offense,
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ECF No. 95 ¶ 14; Lichtenstein Plea Tr., ECF No. 110 at 24:5-25:10.

        In the immediate aftermath of the Hack, Bitfinex acted urgently to protect the remaining

Bitcoin and other cryptocurrency assets on the Bitfinex exchange. Bitfinex used its private keys

to move all Bitcoins and other cryptocurrency assets on the Bitfinex exchange to Bitfinex wallets

that were still secure. Ex. G, Wolf Decl. ¶ 10.

        C.      Bitfinex Honored Customer Bitcoin Positions And Balances And Promptly
                Made Its Customers Whole

        Once Bitfinex was confident the remaining assets held on its platform were secure, Bitfinex

took extraordinary measures to ensure that only Bitfinex and its shareholders—not Bitfinex’s

customers—would ultimately bear the loss caused by the Hack.

        First, Bitfinex honored all customer Bitcoin positions and balances, including margin

trades and other financing transactions, on the Bitfinex exchange at the time of the Hack, regardless

of whether any Bitcoin relating to such positions or balances was stolen. Ex. G, Wolf Decl. ¶ 11.

Bitfinex settled all open positions based on the value of the assets—including Bitcoin—at the time

of the Hack. Id.

        Second, in the days after the Hack, Bitfinex temporarily allocated its losses from the

Hack—comprising approximately 36% of Bitfinex’s then total assets—pro rata across all customer

accounts, regardless of whether they held Bitcoin. Id. ¶¶ 10-12. For example, if an account held

$100 worth of assets, Bitfinex applied an approximate 36% temporary haircut to the account, and

assigned the account a $64 value. This temporary haircut had nothing to do with whether any

Bitcoin in a customer deposit wallet address was stolen, or whether the Bitfinex customers even

held Bitcoin at all. Id. ¶ 12.

        Third, Bitfinex issued “BFX” tokens to each customer in an amount equal to the 36%

haircut Bitfinex applied to the customer’s account. Id. For each $1 of loss assigned to a customer
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account, Bitfinex issued 1 BFX token to that customer with a face value of $1. Id. For example,

a customer with $100 of assets at the time of the Hack would receive 36 BFX tokens to reflect the

$36 haircut temporarily assigned to the customer. Bitfinex “commit[ed] to deploy its efforts to

make you whole,” including through its “recovery of stolen property; funds raised in one or more

financings; and available cash from ongoing operations.” Ex. B at 1. Bitfinex could at its sole

discretion redeem BFX tokens by paying customers $1 per token. Id. Additionally, customers

could assign their right to compensation and any legal claims related to the Hack to other Bitfinex

customers by selling their BFX tokens. Ex. G, Wolf Decl. ¶ 12; Ex. C at 1 (“By transferring a

token to another person, all transferors thereby assign to the respective transferees any claim that

the transferor has against the Bitfinex Group on account of the Losses.”).

       Fourth, Bitfinex permitted qualifying customers to exchange their BFX tokens for newly

issued iFinex stock. Ex. G, Wolf Decl. ¶ 13. Customers exchanged tens of millions of BFX tokens

for iFinex stock. Id. Customers who participated in such transactions entered subscription

agreements with iFinex and received one share of iFinex common stock for each BFX token the

customer redeemed. Id. Some customers also exchanged their BFX tokens for iFinex stock

through intermediaries. Id. Customers who redeemed BFX tokens for iFinex stock generally also

received RRT tokens. Id. ¶ 14. The RRT tokens were subordinated to the BFX tokens, and entitled

the holder to any proceeds of the recovered Stolen Bitcoins after the BFX tokens were redeemed.

Ex. D at 1. The RRT Terms contemplate that “[r]ecovery amounts available, if any, in excess of

1:1 to RRT holders shall belong to and be solely vested in the Bitfinex Group.” Id. 2



2
 Approximately 30 million outstanding RRT tokens are still held by Bitfinex customers; they will
be redeemed and paid in full upon Bitfinex’s recovery of the Stolen Bitcoins. Wolf Decl. ¶ 14; Ex.
E at 1-2, Bitfinex Announces Return of Seized Property to RRT Holders (July 6, 2023),
https://blog.bitfinex.com/media-releases/bitfinex-announces-return-of-seized-property-to-rrt-
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       Fifth, as customers exchanged more and more BFX tokens for iFinex stock, Bitfinex

redeemed all outstanding BFX tokens for their full value. Ex. G, Wolf Decl. ¶ 15. By April 3,

2017—just eight months after the Hack—Bitfinex paid customers millions of dollars to redeem

the BFX tokens that it had not already redeemed or that had not already been exchanged for iFinex

stock, erasing all remaining temporary customer losses relating to the Hack. Id. Bitfinex publicly

explained that it made “the decision to reduce [its] reserves in favor of” a 100% redemption of the

outstanding BFX tokens. Ex. F at 1, 100% Redemption of Outstanding BFX Tokens (Apr. 3, 2017),

https://blog.bitfinex.com/announcements/100-redemption-outstanding-bfx-tokens/.

       As Bitfinex promised, it absorbed the losses from the Hack and made its customers whole.

Bitfinex customers (or their assignees) holding BFX tokens received the entire value of their assets

at the time of the Hack. Ex. G, Wolf Decl. ¶¶ 15-16. Bitfinex customers who exchanged their

BFX tokens for iFinex stock earned significant profits as Bitfinex thrived and paid hundreds of

millions of dollars in dividends. Id. ¶ 16. Moreover, those customers-turned-shareholders and

customers who hold RRTs stand to further benefit when Bitfinex recovers the Stolen Bitcoins.

Bitfinex offered these options to customers at its own expense, without any guarantee that it would

ever recover the Stolen Bitcoins. In the more than eight years since the Hack, no customers have

brought legal claims against Bitfinex regarding the amount or structure of Bitfinex’s compensation

to customers. Id. ¶ 17.

       D.      Defendants Left 94,643 Stolen Bitcoins In The Hack Wallet And Moved But
               Did Not Convert More Than 15,000 Additional Seized Bitcoins

       Immediately following the Hack, Lichtenstein held all 119,754 of the Stolen Bitcoins in

the Hack Wallet. Beginning in or around January 2017, Lichtenstein moved approximately 25,000



holders/.

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of the Stolen Bitcoins out of the Hack Wallet in a series of small transactions. Statement of Facts,

ECF No. 1-1 ¶ 5.; Information, ECF No. 89, ¶ 3(a); Lichtenstein Statement of Offense, ECF No.

95 ¶ 19; Lichtenstein Plea Tr., ECF No. 110 at 27:15-28:9. But the 94,643 Bitcoins remaining in

the Hack Wallet (the “Hack Wallet Bitcoins”), identified in paragraph e of the Corrected Second

Amended Attachment A to the Court’s Second Amended Preliminary Order of Forfeiture (ECF No.

195-1, the “Preliminary Order of Forfeiture”), remained untouched until the Government’s

seizure in 2022. See Statement of Facts, ECF No. 1-1. Additional versions of Bitcoin (the “Hard

Fork Assets”) were also distributed 1-to-1 to the wallets holding Bitcoin after a change in the

programming (i.e., a “hard fork”) of the Bitcoin blockchain. Price Decl. ¶¶ 60-61.

       Defendants attempted to launder the 25,000 Bitcoins removed from the Hack Wallet.

Lichtenstein Statement of Offense, ECF No. 95 ¶ 19. Some of the Stolen Bitcoins were lost or

dissipated. Id. ¶ 28; Lichtenstein Plea Tr., ECF No. 110 at 43:2-17. However, because the Bitcoin

blockchain has a record of every transfer of Bitcoin, many of the Stolen Bitcoins remain directly

traceable to Bitfinex.

       At least 15,085 of the Bitcoins that Defendants removed from the Hack Wallet (the

“Additional Seized Bitcoins”), subject to seizures of 2,818.199 and 12,267.025 Bitcoins

(reflected in paragraphs s and t of the Preliminary Order of Forfeiture, respectively), are directly

traceable to Bitfinex. Ex. A, Price Decl. ¶¶ 46-58. Defendants attempted to obfuscate the origin

of the Additional Seized Bitcoins by executing “peel chain” transactions that split these Bitcoins

into small amounts and then transferred them between and among wallets under Defendants’

control. Id. ¶¶ 54-56. But these Bitcoins were never converted into other assets. Id. ¶ 58. Nor

were they placed in a “mixer,” where Bitcoins are comingled from various sources. Id. They are

traceable to the same Bitcoins that Lichtenstein stole from Bitfinex. Id.


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        E.      Defendants Pled Guilty And Admitted That Lichtenstein Perpetrated The
                Hack And Stole 119,754 Bitcoins From Bitfinex

        Law enforcement agents traced some of the Stolen Bitcoins to accounts associated with

Defendants. Statement of Facts, ECF No. 1-1 ¶ 5. In 2021, government agents executed a search

warrant of Lichtenstein’s encrypted cloud storage account and decrypted a file which contained a

list of the 2,072 addresses in the Hack Wallet, and the private keys to the Bitcoin held at those

addresses.   See Statement of Facts, ECF No. 1-1 ¶¶ 5, 6; Notice Regarding Supplemental

Statements Exhibit, ECF No. 175-1 at 8.

        The 2,072 addresses in the Hack Wallet contained a total of 94,643 Bitcoin which held

either (i) Bitcoin stolen from Bitfinex; or (ii) no virtual currency at all. Statement of Facts, ECF

No. 1-1 ¶ 6 n. 10. In other words, the 94,643 Hack Wallet Bitcoins are directly traceable to the

Hack and were stolen from Bitfinex. Complaint Ex. A, ECF No. 1-1 ¶ 6. In or about February

2022, law enforcement seized the Hack Wallet Bitcoins. Id.

        Since Defendants’ arrest, the Government has seized significant additional assets from

Defendants, including the Additional Seized Bitcoins, cash, gold, and other cryptocurrencies. See

Preliminary Order of Forfeiture, ECF No. 195-1 ¶¶ a-ll. Excluding the Hack Wallet Bitcoins and

Additional Seized Bitcoins (together, the “Bitfinex Bitcoins”), as of the date of sentencing, there

are hundreds of millions of dollars of other assets (including thousands of Bitcoins) potentially

subject to forfeiture.

        F.      A Handful Of Disgruntled Bitfinex Customers Seek Additional Compensation
                Based On Their Individual Circumstances

        A handful of Bitfinex customers have submitted correspondence in this case. ECF Nos.

173, 175. Not all these customers held Bitcoin on Bitfinex at the time of the Hack, let alone Bitcoin

stolen by Lichtenstein. See, e.g., Notice Regarding Statements Appendix, ECF No. 173-1 at 9, 49.

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Some of these customers acknowledge that Bitfinex made them whole long ago. See e.g., Notice

Regarding Statements Appendix, ECF No. 173-1 at 5 (“Contrary to my initial statement, I have

confirmed that Bitfinex did, in fact, fully refund my holdings”); id. at 10 (“we were all eventually

made whole by Bitfinex”); ECF No. 175-1 at 12 (“Bitfinex . . . completely refunded my losses”);

ECF No. 173-1 at 3 (“Bitfinex took efforts to make clients whole but it never returned the actual

assets I had”).

       A few Bitfinex customers appear to regret, more than eight years later and after the

significant price appreciation of Bitcoin, that they sold their BFX tokens and right to compensation

to other customers at a discount (or that they did not reinvest their compensation in Bitcoin). See,

e.g. Appendix to Notice, ECF No. 173-1 at 9, 37. The assignees of the customers then received

compensation from Bitfinex instead. See supra 6-9. Additionally, a couple of individuals, with

scant evidence, assert that Bitcoin was stolen from them by Lichtenstein and should be returned to

them instead of Bitfinex, even though Bitfinex honored their Bitcoin positions and balances. See,

e.g., Ancillary Petition of Hjalmar Peters, ECF No. 204. Some of these Bitfinex customer

submissions include information that is inconsistent with Bitfinex and/or public blockchain

records. Wolf Decl. ¶ 17.

       G.         Procedural History

       The Government filed a criminal complaint against Defendants on or about February 2,

2022. Complaint, ECF No. 1. On July 20, 2023, the Government filed an Information charging

each of the Defendants with a money laundering conspiracy in violation of 18 U.S.C. §§ 371 and

1956(h), and charging Defendant Morgan with a conspiracy to defraud the united states in violation

of 18 U.S.C. § 371. See Information, ECF No. 89. On August 3, 2023, Defendants pled guilty

before the Court. See Defendants’ Plea Agreements, ECF Nos. 96, 101. The Government told the


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Court then that “[t]he victim’s name is Bitfinex.” Lichtenstein Plea Tr., ECF No. 110 at 23:5-7.

Defendants admitted to the Court that Lichtenstein perpetrated the Hack and stole 119,754 Bitcoins

from Bitfinex. Information, ECF No. 89 ¶ 2; Lichtenstein Statement of Offense, ECF No. 95 ¶ 12;

Lichtenstein Plea Tr., ECF No. 110 at 22:7-23:7; Morgan Statement of Offense, ECF No. 100 at ¶

12; Morgan Plea Tr., ECF No. 111 at 21:23-23:13.

       On October 8, 2024, the Government filed a motion regarding victim notification but

acknowledged that it “is not aware of any person who qualifies as a victim under the CVRA or for

restitution under the MVRA, beyond perhaps Bitfinex, the Victim Virtual Currency Exchange

(‘VICTIM VCE’).” Consent Motion, ECF No. 141 at 1; Order, ECF No. 145.

       On October 15, 2024, the Government filed its sentencing memorandum for Lichtenstein.

Lichtenstein Sentencing Memorandum, ECF No. 146. It requested an order of restitution requiring

Defendants to return the 94,643 Hack Wallet Bitcoins to Bitfinex, which “represents the return of

lost property to the owner of that property and is consistent with the statutory text and purpose of

[the MVRA].” Id. at 25. At Lichtenstein’s sentencing, the Court deferred a determination on

restitution. See Minute Order, ECF No. 179. The Court subsequently ordered a restitution hearing

for Defendants on February 21, 2025, and a briefing schedule, which permitted third parties to file

any Motions to Intervene or Objections on or before January 28, 2025. See Consent Motion to

Schedule Restitution Hearing, ECF No. 184; Order, ECF No. 185. On January 14, 2025, the

Government filed its Supplemental Motion Regarding Restitution. ECF No. 202. It affirmed that

the Hack Wallet Bitcoins and Hard Fork Assets are the “residue of the property that was stolen

from Bitfinex in the 2016 hack” and the “specific property lost” by Bitfinex, and that “those assets

should be returned to Bitfinex as in-kind restitution.” Id. at 3-5.




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                                           ARGUMENT

I.     The MVRA Requires That Defendants Be Ordered To Pay In-Kind Restitution Of
       The Stolen Bitcoins To Bitfinex

       Restitution is meant to “simply restore[] a victim . . . to the position the victim occupied

before sustaining injury.” United States v. Bikundi, 926 F.3d 761, 790–91 (D.C. Cir. 2019) (cleaned

up). The MVRA does not leave “restitution to the sentencing [court’s] discretion.” Dolan v. United

States, 560 U.S. 605, 612 (2010). In determining restitution, “a sentencing court is not expected

to undertake a full-blown trial.” United States v. Naphaeng, 906 F.3d 173, 179 (1st Cir. 2018).

Indeed, “‘absolute precision is not required’ in calculating restitution under the MVRA,” and “a

restitution award requires only ‘a modicum of reliable evidence,’” not “metaphysical certainty.”

Id. at 179, 182 (citation omitted).

       The Government is correct that Defendants must be ordered to pay Bitfinex in-kind

restitution of the remaining Stolen Bitcoins. First, Bitfinex is entitled to restitution under 18 U.S.C.

§ 3663A(a)(3) because the Government and Defendants agreed that Defendants would pay

restitution to Bitfinex in Defendants’ plea agreements. Second, Bitfinex is entitled to mandatory

restitution under 18 U.S.C. § 3663A(a)(1) because it is the direct victim of Defendants’ offenses.

Third, both provisions of the MVRA require in-kind restitution of the Bitfinex Bitcoins to Bitfinex.

       A.      The MVRA Requires The Court To Enforce Defendants’ Plea Agreements
               And Order Them To Pay Restitution To Bitfinex

       Where, as here, the Government and Defendants have agreed “in a plea agreement” to

provide restitution to a specific third party, the MVRA requires that “the court shall” enforce that

agreement and order restitution. 18 U.S.C. § 3663A(a)(3). The Court’s inquiry is straightforward.

One of the terms of the plea agreements between the Government and Defendants is that

Defendants will pay restitution to Bitfinex. See Plea Agreement, ECF No. 96 at 10. The Court

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accepted those plea agreements. Lichtenstein Plea Tr. at 74, ECF No. 110; Morgan Plea Tr. at 78,

ECF No. 111. The MVRA requires that the Court “shall . . . order” restitution as “agreed to by the

parties in a plea agreement.” 18 U.S.C. § 3663A(a)(3). Indeed, Congress specifically “inten[ded]

that, in addition to any restitution mandatory for the offense for which the victim is convicted, all

other restitution included in the plea agreement and supported by fact be ordered by the court.” S.

REP. 104-179, at 19 (1995), reprinted in 1996 U.S.C.C.A.N. 924, 932.

       Thus, once Defendants voluntarily agreed to pay Bitfinex restitution in their court-

approved plea agreements, restitution became mandatory under the MVRA. See United States v.

Wyss, 744 F.3d 1214, 1215 (10th Cir. 2014) (noting that 18 U.S.C. § 3663A(a)(3) is a statute

“directing the court to order” restitution “if agreed to by the parties in a plea agreement”); United

States v. Bradley, 692 F. App’x 118, 121 (4th Cir. 2017) (“the plea agreement controls” regardless

of whether the third-party harmed by defendant is a “victim” under the MVRA). Paying restitution

to Bitfinex is a material term of Defendants’ plea agreements that must be fulfilled as part of

Defendants’ guilty plea. See United States v. Peterson, 268 F.3d 533, 533 (7th Cir. 2001) (rejecting

defendant’s appeal of restitution order pursuant to plea agreement because that would require

setting aside the entire plea agreement). Third parties do not have standing to challenge the terms

of Defendants’ plea agreements. See In re W.R. Huff Asset Mgmt. Co., LLC, 409 F.3d 555, 564 (2d

Cir. 2005) (“Nothing in the CVRA [or MVRA] requires the Government to seek approval from

[potential] victims before negotiating or entering into a settlement agreement.”).

       Defendants’ plea agreements and the MVRA require that the Court order Defendants to

provide in-kind restitution to Bitfinex.




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       B.      The MVRA Also Requires That The Court Order Defendants To Pay Bitfinex
               Restitution As The Undisputed Victim Of Defendants’ Charged Conduct

       Bitfinex is also entitled to restitution under the MVRA as the direct victim of Defendants’

offenses. 18 U.S.C. § 3663A(a)(1). The MVRA defines “victim” to include “in the case of an

offense that involves as an element a scheme, conspiracy, or pattern of criminal activity any person

directly harmed by the defendant’s criminal conduct in the course of the scheme, conspiracy, or

pattern.” 18 U.S.C. § 3663A(a)(2). To ascertain who qualifies as a “victim under the MVRA,”

courts must first “determine the scope” of the scheme or conspiracy. United States v. Emor, 850

F. Supp. 2d 176, 203 (D.D.C. 2012). Where the offense of conviction is a scheme or conspiracy,

“the district court may order restitution without regard to whether the conduct that harmed the

victim was conduct underlying the offense of conviction.” United States v. Matos, 611 F.3d 31,

43 (1st Cir. 2010) (citation omitted). “[T]o determine the scope of the ‘offense of conviction’ for

purposes of restitution” when a defendant “was convicted pursuant to a guilty plea,” as here, “the

court should look to the plea agreement, the plea colloquy, and other statements made by the

parties.” United States v. Elson, 577 F.3d 713, 723 (6th Cir. 2009) (cleaned up), abrogated on

other grounds by Lagos v. United States, 584 U.S. 577 (2018); see also Emor, 850 F. Supp. 2d at

203 (when a defendant has pled guilty, “the scope of the underlying scheme is defined by the

parties themselves”).

       The scope of Defendants’ conspiracy indisputably encompassed their criminal conduct

directed at Bitfinex and its 119,754 Bitcoins.        The Government alleged (and Defendants

acknowledged) that “[i]t was the object of the conspiracy for the defendants, LICHTENSTEIN

and Morgan, to unlawfully enrich themselves by laundering the proceeds of the 2016 hack and

scheme to defraud the victim virtual currency exchange, Bitfinex.” Information, ECF No. 89 at



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¶¶ 2, 5 (emphasis added). Lichtenstein specifically admitted that he devised and executed the Hack

and stole 119,754 Bitcoins from Bitfinex. Lichtenstein Statement of Offense, Doc. 95 ¶ 14. In

fact, Defendants “maintain that the only potential victim for CVRA or MVRA purposes, if any, is

Bitfinex.” Consent Motion, ECF No. 141 at 2. The Government has always maintained in this

case that “the victim’s name is Bitfinex” (Lichtenstein Plea Tr., ECF No. 110 at 23:5-7), the

“charges relate to a hack into the Bitfinex virtual currency exchange, resulting in the theft of

approximately 119,754 Bitcoin (BTC)” (Consent Motion, ECF No. 141 at 2), and “defendant

[Lichtenstein] embarked on a scheme to steal money from Bitfinex” (Lichtenstein Plea Tr., ECF

No. 146 at 2). The Court told Lichtenstein at sentencing that he “devised [and] carried out a

scheme to steal money from Bitfinex.” Lichtenstein Sentencing Tr., ECF No. 180, at 63:18-20.

        Indeed, the Government needed to prove the Hack of Bitfinex to establish a predicate

offense for Defendants’ money laundering conspiracy. See United States v. Adefehinti, 510 F.3d

319, 322 (D.C. Cir. 2007) (“To convict a person for money laundering . . . the government must

prove that . . . (2) the transaction involved the proceeds of unlawful activity; [and] (3) the defendant

knew that the proceeds were from unlawful activity.”). The defined victim of that predicate offense

is the victim of the conspiracy itself. For instance, in Lazarenko, the former Prime Minister of

Ukraine was convicted of a money laundering conspiracy. United States v. Lazarenko, 624 F.3d

1247, 1249 (9th Cir. 2010), as amended on denial of reh’g 2010 WL 4888164 (Dec. 2, 2010). The

Government proved the offense by showing that the laundered funds included the proceeds of an

extortion plot, and the trial court ordered restitution to the extortion victim. Id. at 1249. On appeal,

Lazarenko argued, among other things, “that money laundering generally is considered a

victimless crime” and therefore the district court erred by ordering restitution. Id. at 1250 n.5. The

Ninth Circuit rejected Lazarenko’s argument, reasoning: “As part of the conspiracy to launder


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money, Lazarenko extorted money from [the victim]. Accordingly, [the victim] qualifies as a

‘victim’ under the plain text of the restitution statutes.” Id. Like the extortion victim in Lazarenko

(who was ultimately not eligible for restitution for reasons inapplicable here), Bitfinex is a victim

under the MVRA because it is the victim of the predicate crime for Defendants’ conspiracy.

       The Government has recently equivocated that Bitfinex is only “perhaps” a victim under

the MVRA because “[n]either defendant was convicted of the underlying intrusion into [Bitfinex]’s

network or the theft of cryptocurrency therefrom.” Consent Motion, ECF No. 141 at 1, 5; see

Lichtenstein Sentencing Memo, ECF No. 146 at 27. But the cases cited by the Government

(Consent Motion, ECF No. 141 at 5 n.2) have no application to Bitfinex—the defined victim of

Defendants’ offenses. In United States v. Benns, the defendant pled guilty to making false

statements on a mortgage application, but the district court ordered restitution based on the

subsequent foreclosure of certain properties. 740 F.3d 370, 372-73 (5th Cir. 2014). The Fifth

Circuit vacated that order because there was no evidence in the record that defendant’s false

statements caused the subsequent foreclosure losses. Id. at 377-78. In United States v. Lutz, the

defendant was convicted of a fraudulent real estate scheme and the Court ordered restitution for

losses from an uncharged transaction. 237 F. App’x 849, 851 (4th Cir. 2007). Defendant argued

that the evidence as to that specific property was “insufficient,” and the Fourth Circuit agreed. Id.

at 851-52. And in United States v. Murry, defendant was convicted of fraudulently obtaining

merchandise across state lines. 395 F.3d 712, 714 (7th Cir. 2005). At trial, the Government proved

approximately $240,000 in victim losses. Id., at 721. The Seventh Circuit vacated the district

court’s award of $654,000 in restitution because it was “unclear from the PSR how much of the

remaining loss calculation . . . can be attributed to relevant conduct.” Id. These holdings regarding

uncharged relevant conduct are inapplicable here as to Bitfinex because the Government charged


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and Defendants admitted that their conspiracy encompassed conduct that specifically harmed

Bitfinex. 3 See Information, ECF No. 89; Lichtenstein Plea Tr., ECF No. 110 at 23:4-7.

       Finally, there is no dispute that the Hack directly and proximately harmed Bitfinex. That

analysis “incorporates both the traditional ‘but for’ and proximate cause analyses.” United States

v. Clinesmith, 2021 WL 184316, at *1 (D.D.C. Jan. 19, 2021) (citing In re Rendon Galvis, 564 F.3d

170, 175 (2d Cir. 2009)). As the Government and the Court recognize, and Defendants agree,

Lichtenstein’s “hack and theft caused serious solvency issues at Bitfinex.”             Lichtenstein

Sentencing Memorandum, ECF No. 146 at 18; Lichtenstein Sentencing Tr., ECF No. 182 at 64:2-

3. Lichtenstein misappropriated Bitfinex’s private keys to its wallets and used them to steal

119,754 Bitcoins. See Lichtenstein Sentencing Memorandum, ECF No. 146 at 2; Lichtenstein

Statement of Offense, ECF No. 95 at 4. Bitfinex then absorbed that loss, honored its customers’

Bitcoin positions and balances, and promptly made its customers whole. Ex. G, Wolf Decl. ¶¶ 11-

16; see also United States v. Rhodes, 330 F.3d 949, 953 (7th Cir. 2003) (affirming award of

restitution to a broker that absorbed the loss of a fraud and made its customers whole). Lichtenstein

has apologized for causing Bitfinex losses. Lichtenstein Sentencing Tr., ECF No. 182 at 39:4-6.

Defendants’ offenses were the but-for and proximate cause of Bitfinex’s loss of the Stolen Bitcoins.

       Because Bitfinex was directly and proximately harmed by conduct within the scope of



3
  The Government also suggests that there are not victims of the Hack under the MVRA because
a substantive wire fraud charge for that offense would be “time-barred when the government
brought charges in 2022.” Consent Motion, ECF No. 141 at 5. Even if true, “[s]everal courts of
appeal to consider the issue have concluded” that “although the statute of limitations may prevent
the government from charging [defendant] for acts that occurred outside the statute of limitations,
it poses no bar to imposing restitution under the MVRA for damages occurring from [his] full
scheme.” United States v. Pole, 2024 WL 756781, at *30 (D.D.C. Feb. 23, 2024) (citations and
quotation marks omitted) (emphasis added); see also United States v. Anieze-Smith, 923 F.3d 565,
573 (9th Cir. 2019) (same), cert. denied sub nom, Gabra v. Unites States, 140 S. Ct. 613 (2019).

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Defendants’ offenses as defined by the Government, the Defendants, and the Court, it is also

entitled to restitution as a victim pursuant to 18 U.S.C. §§ 3663A(a)(1) & (2).

       C.      Defendants Must Provide Bitfinex With In-Kind Restitution By Returning
               The Stolen Bitcoins To Bitfinex

       The MVRA requires that Defendants pay Bitfinex in-kind restitution by returning the

remaining Stolen Bitcoins. “[I]n the case of an offense resulting in damage to or loss or destruction

of property,” the Court “shall” order the defendant to “return the property to the owner of the

property.” 18 U.S.C. § 3663A(b)(1)(A); see also United States v. Holmes, 673 F. Supp. 3d 1049,

1057 (N.D. Cal. 2023) (“[T]he MVRA requires defendants, in the first instance, to ‘return the

property to the owner of the property.’”).

       The Government and Defendants agree that all recovered Stolen Bitcoins should be

returned to Bitfinex as in-kind restitution. See Lichtenstein Sentencing Memo, ECF No. 146 at 28

(“a restitution order should include the residue of the property that was stolen from Bitfinex”);

ECF No. 161 at 45 (“[T]his Court should order that the assets seized from Mr. Lichtenstein and

Ms. Morgan be applied as in-kind restitution to Bitfinex.”); Government’s Supplemental Motion

Regarding Restitution, ECF No. 202. As the Government argues, the return of the Stolen Bitcoins

to Bitfinex “represents the return of lost property to the owner of that property and is consistent

with the statutory text and purpose of the [MVRA].” ECF No. 146 at 25.

       Bitfinex has ownership interests in each and all of the Bitfinex Bitcoins because it held or

controlled the private keys necessary to access the wallet addresses hacked by Lichtenstein. See

supra p. 4. The Government and Defendants agree that Lichtenstein was able to steal Bitcoin from

Bitfinex wallets by “us[ing] his access to [Bitfinex’s] keys to fraudulently authorize more than

2,000 transactions in which approximately 119,754 BTC was transferred from [Bitfinex’s] wallets


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to [the Hack Wallet].” Lichtenstein Statement of Offense, ECF No. 95 at 4; see also Consent

Motion, ECF No. 141 at 3. If Bitfinex did not control the Bitcoins, Lichtenstein could not have

stolen them. See United States v. Gratkowski, 964 F.3d 307, 309 (5th Cir. 2020) (“Bitcoin users

send Bitcoin to other users through these addresses using a private key function that authorizes the

payments.”); United States v. Sterlingov, 719 F. Supp. 3d 65, 70 (D.D.C. 2024) (same). For that

reason, courts in the District of District of Columbia have consistently found that the owner of

Bitcoin in a cryptocurrency wallet is the possessor of the private keys to that wallet. “Ownership

of bitcoin is thus based on a user’s possession or knowledge of the private key associated with a

public key and address.” United States v. Harmon, 474 F. Supp. 3d 76, 82 (D.D.C. 2020); see also

United States v. Patel, 2024 WL 1932871, at *1 (D.D.C. May 1, 2024) (“An individual’s

‘[o]wnership of bitcoin is thus based on [his] possession or knowledge of the private key associated

with a public key and address.’”) (citing Harmon, 474 F. Supp. 3d at 82); see also Ex. A, Price

Decl. ¶ 19.

       Indeed, less than two months before the Hack, the Commodities Futures Trading

Commission found that even “when Bitfinex changed its model” to provide Bitfinex customers

individual deposit wallet addresses, Bitfinex still “owned and controlled” the “bitcoin deposit

wallets” because Bitfinex “retained control over the private keys to those wallets, and the

[customers] had no contractual relationship with [BitGo].” In the Matter of BFXNA Inc. d/b/a

Bitfinex, CFTC Docket No. 16-19, at 2, 3, 6 (Jun. 2, 2016). 4



4
  A few forfeiture claimants misread the CFTC’s findings, which were relevant to CFTC
registration requirements, as only applicable to Bitfinex’s early 2015 wallet model. See ECF Nos.
203, 204 ¶¶ 12-15. But the CFTC maintained that Bitfinex rather than its customers owned and
controlled the Bitfinex exchange wallets, and Bitfinex began exiting the U.S. market shortly after
the Hack. In the Matter of: iFinex Inc., BFXNA Inc., and BFXWW Inc., CFTC Docket No. 22-05
(Oct. 15, 2021).
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       Because the Bitfinex Bitcoins—approximately 94,643 Hack Wallet Bitcoins and 15,038

Additional Seized Bitcoins—are traceable to the Hack and were stolen from Bitfinex, the Court

must order in-kind restitution of those assets to Bitfinex. The Government itself argues that the

Hack Wallet Bitcoins are “the specific property lost” by Bitfinex. Government’s Supplemental

Motion Regarding Restitution, ECF No. 202 at 1; Lichtenstein Sentencing Memorandum, ECF

No. 146 at 28. And because the parties support payment of the Hack Wallet Bitcoins as in-kind

restitution, there is no dispute that returning those Bitcoins to Bitfinex is not “impossible,

impractical, or inadequate.” 18 U.S.C. § 3663A(b)(1)(B)(i)-(ii).

       The Government suggests that because the Additional Seized Bitcoins were laundered, they

are no longer “the specific property lost” by Bitfinex. The Government cites Robers, where the

Supreme Court addressed whether “any part of the property” is returned to the lender in a mortgage

fraud (thereby reducing the amount of restitution) prior to the sale of the real estate collateral.

Lichtenstein Sentencing Memorandum, ECF No. 146 at 28 (citing Robers v. United States, 572

U.S. 639, 640-41 (2014)). The Court held that “in the case of a fraudulently obtained loan,” the

property lost “is the money lent,” so “no ‘part of the property’ is ‘returned’ to the victim until the

[real estate] collateral is sold and the victim receives money”—i.e., the type of property lost—

“from the sale.” Id. at 641. The Court reasoned that real estate is not the “specific property lost”

in a fraudulent loan; in contrast, the Court noted that when the “specific property lost” is fungible

like money, the returned property “need not be the very same bills or checks.” Id. at 643.

       Robers is not implicated here because Lichtenstein stole a specific asset—Bitcoin—and

Bitfinex seeks to recover that Bitcoin—the specific property lost. Moreover, the Additional Seized

Bitcoins were not converted into or comingled with other assets—like the Hack Wallet Bitcoins,




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they are the same Bitcoins stolen from Bitfinex. See Ex. A, Price Decl. ¶¶ 50, 58. 5 Defendants

should be ordered to return the Bitfinex Bitcoins to Bitfinex.

                                           *       *       *

        Consistent with the Government’s position, the statutory purpose of the MVRA, and

Defendants’ plea agreements, the Court should order Defendants to pay in-kind restitution to

Bitfinex of the Bitfinex Bitcoins to return it to its position before the Hack and amend the

Preliminary Order of Forfeiture to exclude the Bitfinex Bitcoins. 6

II.     The Handful of Individuals Seeking Restitution Does Not Affect Bitfinex’s Right To
        Mandatory In-Kind Restitution

        The Government’s position that Bitfinex customers, unlike Bitfinex itself, do not qualify

for restitution is correct. Moreover, Bitfinex is entitled to in-kind restitution regardless of whether

the Court determines that any individuals have a right to restitution.

        A.     Bitfinex Customers Do Not Qualify As Victims Under The MVRA

        A handful of Bitfinex customers argue that they are victims of Defendants’ offenses and

entitled to restitution. To establish that an individual is a victim of a defendant’s offense, “the

government must show both that the defendant’s conduct is the ‘but-for’ cause of the individual’s



5
  It is also within the Court’s discretion to order in-kind payments to satisfy an order of restitution.
See 18 U.S.C. § 3664(f) (permitting “in-kind payment” of “return of property” or “replacement of
property”); Robers, 572 U.S. at 644.
6
  The Bitfinex Bitcoins were included in the Preliminary Order of Forfeiture because of the
Government’s requested delay of the restitution hearing. ECF No. 171 at 1. Because the
Government maintains that at least the Hack Wallet Bitcoins are Bitfinex property, Government’s
Supplemental Motion Regarding Restitution, ECF No. 202 at 1, that property is not duly subject
to forfeiture. See United States v. Farkas, 2016 WL 10585041, at *2 (E.D. Va. Oct. 3, 2016) (“[A]s
the government correctly argues, the forfeiture authority extends only to defendant’s property.”)
(citing United States v. Hoover-Hankerson, 511 F.3d 164, 171 (D.C. Cir. 2007)); United States v.
Wolf, 375 F. Supp. 3d 428, 440 (S.D.N.Y. 2019) (“[C]riminal forfeiture under § 853 ‘reaches only
the property of the criminal defendant[.]’”) (citation omitted).
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harm and that the defendant ‘proximately’ caused the harm.” United States v. Speakman, 594 F.3d

1165, 1171 (10th Cir. 2010). The Government does not recognize the Bitfinex customers as

victims under the MVRA—it has only recognized Bitfinex as the victim of Defendants’ conduct.

See e.g., Lichtenstein Plea Tr., ECF No. 110 at 23:5-7 (“The victim’s name is Bitfinex.”).

       The Government is correct that Bitfinex customers are not victims of Defendants’ offenses

under the MVRA. When, as here, Defendants have pled guilty, the scope of Defendants’ offenses

is defined by the parties and the Court. Elson, 577 F.3d at 723; Emor, 850 F. Supp. 2d at 203. The

Government, Defendants, and the Court have acknowledged that Bitfinex suffered losses from the

Hack and was the direct victim of Defendants’ offenses. See supra p. 2. In contrast, there are no

admissions or evidence in the record regarding conduct directed at or harm to Bitfinex customers.

Any purported harm to Bitfinex customers squarely falls into the category of “relevant conduct”

that the Government suggests is insufficient to establish a right to restitution. See Government’s

Supplemental Motion Regarding Restitution, ECF No. 202 at 2-3. And no customer to date has

substantiated such claims with reliable evidence, precluding restitution. See United States v.

Steele, 897 F.3d 606, 613 (4th Cir. 2018) (potential “victim’s unsupported loss estimate was

insufficient, on its own, to substantiate a restitution amount”); United States v. Ferdman, 779 F.3d

1129, 1136-41 (10th Cir. 2015) (holding that a victim’s unverified letter was insufficient to justify

restitution ordered under the MVRA).

       Moreover, Bitfinex customers are not victims because they did not suffer losses, let alone

direct losses, because of the Hack. Bitfinex honored customer Bitcoin positions and balances,

regardless of whether they involved Bitcoins that were stolen by Lichtenstein and absorbed the

loss of the Stolen Bitcoins itself. Ex. G, Wolf Decl. ¶ 11. Bitfinex temporarily spread its losses

across all customers and assets, but it promptly made its customers whole. Id. at ¶¶ 12-16. Bitfinex

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customers who waited mere months received the entire value of their assets at the time of the Hack;

some even obtained significant profits by opting for iFinex stock as compensation. Id. at ¶ 13. In

fact, some Bitfinex customers have written to the Court or Government to acknowledge that

Bitfinex made them whole eight years ago, while lamenting that they do not own more Bitcoin

today. See Ex. 1 to Notice Regarding Statements, ECF No. 173-1 at 3 (“Bitfinex took efforts to

make clients whole”); ECF No. 173-1 at 5 (“I have confirmed that Bitfinex did, in fact, fully refund

my holdings”); ECF 173-1 at 10 (“we were all eventually made whole by Bitfinex”); ECF No.

175-1 at 12 (“Bitfinex . . . completely refunded my losses”).

       A handful of individuals have claimed that they were undercompensated by Bitfinex and

therefore should receive restitution. See generally, ECF Nos. 173-1, 175-1. Some of these Bitfinex

customers never owned Bitcoin that was stolen by Lichtenstein or any Bitcoin at all. Ex. G, Wolf

Decl. ¶ 17. Rather, these customers allege that they sold their BFX tokens and thereby assigned,

among other things, their right to compensation from Bitfinex at a discount to other Bitfinex

customers. See generally, ECF Nos. 173-1, 175-1. The assignees of these customers then received

compensation from Bitfinex. Ex. G, Wolf Decl. ¶ 15.

       Even if such customers offered proof in support of their claims, such claims of incomplete

compensation from Bitfinex are far too attenuated from the Hack for these Bitfinex customers to

qualify as victims entitled to restitution under the MVRA. “[R]estitution is inappropriate if the

conduct underlying the conviction is too far removed, either factually or temporally, from the

loss … [t]his means, in effect that the government must show not only that a particular loss would

not have occurred but for the conduct underlying the offense of conviction, but also that the causal

connection between the conduct and the loss is not too attenuated.” United States v. Cutter, 313

F.3d 1, 7 (1st Cir. 2002); United States v. Robertson, 493 F.3d 1322, 1335 (11th Cir. 2007) (vacating

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award of restitution when there was a lack of evidence that alleged losses “were reasonably

foreseeable consequences of [defendant’s] fraud”).

       A customer’s decision to sell his or her right to compensation at a discount such that

Bitfinex paid his or her compensation to another customer is not a loss directly and proximately

caused by Defendants’ offenses or a reasonably foreseeable consequence of those offenses. There

are multiple intervening causes between the Hack and such transactions, including (i) Bitfinex’s

decision to honor all customer Bitcoin positions and balances at the time of the Hack and to absorb

the loss of the Stolen Bitcoins itself; (ii) Bitfinex’s temporary allocation of its losses across all

customers and assets; (iii) the decision of certain customers to sell their right to compensation to

other customers; and (iv) Bitfinex’s payment of compensation to the assignee customers instead

of the original customers. See supra pp. 24-25. As the Supreme Court recognized in Robers, a

defendant may not be responsible for attenuated harm such as the “sale [of collateral] to a friend

for a nominal sum . . . which . . . could break the causal chain.” 572 U.S., at 646. Likewise, here,

the decision of some customers to sell their right to compensation to other customers (who received

that compensation instead) “break[s] the causal chain” between the hack and the purported losses.

Id.; see also Robertson, 493 F.3d at 1334 (vacating award of restitution to victim who settled

lawsuit by another victim for reselling software fraudulently obtained by defendant because there

were “several intervening events between [the] fraud on [Victim A] and the loss to [Victim B]”).

       That is particularly true where, as here, all individuals that might potentially seek restitution

are customers of Bitfinex—the direct victim of Defendants’ offenses. Any customer compensation

claims can and should be resolved through Bitfinex’s commercial relationship with its customers,

not through the restitution hearing. When ordering restitution for offenses with a direct victim and

other individuals who have allegedly suffered indirect harms, courts routinely order restitution to

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the direct victim and permit any subsequent reimbursement obligations to be resolved outside of

the restitution process. For instance, in United States v. Boscarino, 437 F.3d 634, 637 (7th Cir.

2006), the Seventh Circuit reviewed an order awarding restitution for a scheme to defraud an entity

by diverting its client’s money. Id. at 636. The district court ordered restitution to the entity, the

“immediate victim” of defendant’s fraud. Id. at 637 (overruled on other grounds by United States

v. Statham, 581 F.3d 548 (7th Cir. 2009)). On appeal, Judge Easterbrook, writing for the

unanimous panel, affirmed, holding that “[o]nce [the defendant] reimburses the immediate victim,

[the company] will be able to repay [the client]. Instead of determining the ultimate incidence of

costs created by criminal activity, judges should direct restitution to the immediate victim; other

persons’ rights in the funds then may be sorted out under normal rules of contract and property

law.”   Id. (emphasis added).     Likewise, in Emor, the court ordered MVRA restitution for

defendant’s wire fraud offense. 850 F. Supp. 2d at 202. The court found that the crime of

conviction “directly harmed” the immediate victim, the District of Columbia, by diverting its funds.

Id. at 212. While the crime also may have “indirectly harmed” the federal government because it

may have reimbursed the District of Columbia for some of the diverted funds, the court only

awarded restitution to the District of Columbia, recognizing that any obligation to reimburse the

federal government did not need to be resolved in the restitution proceeding. Id.

        Bitfinex maintains that it made its customers whole. For nearly a decade, no customer has

brought a claim challenging the adequacy of his or her compensation from Bitfinex. Ex. G, Wolf

Decl. ¶ 17. But if any Bitfinex customers believe that their compensation is inadequate or that

they are entitled to some of the Bitfinex Bitcoins, that is a commercial matter between them and

Bitfinex, which should be “sorted out under normal rules of contract and property law.” Boscarino,

437 F.3d at 637.


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        B.      Bitfinex is Entitled to In-Kind Restitution Regardless of Whether the Court
                Recognizes Any Other Victims

        Even if the Court determines that the idiosyncratic circumstances of any Bitfinex customer

make him or her a victim under the MVRA, that does not affect Bitfinex’s right to in-kind

restitution. First, there are too few alleged victims to satisfy the MVRA’s highly limited exceptions

for when the Court is not required to order restitution. Second, even if any individuals could

qualify as victims, they do not qualify for in-kind restitution of the Bitfinex Bitcoins, and Bitfinex’s

recovery will not affect the ability of any individuals to recover alleged losses.

                1.      The Few Bitfinex Customer Claims Do Not Satisfy the MVRA’s
                        Limited Exceptions to Mandatory Restitution

        The MVRA does not apply where “the number of identifiable victims is so large as to make

restitution impracticable” or “determining complex issues of fact related to the cause or amount of

the victim’s losses would complicate or prolong the sentencing process to a degree that the need

to provide restitution to any victim is outweighed by the burden on the sentencing process.” 18 §

U.S.C. 3663A(c)(3). Neither of these rare exceptions is applicable here.

        First, even if any individuals qualify as victims based on their specific circumstances, there

are far too few victims for the numerosity exception to the MVRA to apply. Courts have refused

to apply the numerosity exception even when there are thousands of potential victims—which is

clearly not the case here. See, e.g., United States v. Ageloff, 809 F. Supp. 2d 89, 99 (E.D.N.Y.

2011), aff’d, United States v. Catoggio, 698 F.3d 64 (2d. Cir. 2012) (ordering restitution

notwithstanding the existence of thousands of victims); see also United States v. Marsh, 2011 WL

5325410, at *15 (E.D.N.Y. Oct. 26, 2011) (declining to apply exception where there were 1,059

identified victims). The number of individuals asserting victim status here does not come close to

that which would make restitution impracticable.

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       Second, the additional claims do not affect the calculation of Bitfinex’s losses and the

exception for complex loss calculations does not apply. The complexity exception to the MVRA

is rarely applied by courts. See United States v. Sarad, 227 F. Supp. 3d 1153, 1158 (E.D. Cal. 2016)

(“The Ninth Circuit has analyzed the MVRA complexity exception only twice, and both times

found it inapplicable.”). The MVRA only requires a “reasonable approximation of loss.” United

States v. Gushlak, 728 F.3d 184, 195-96 (2d Cir. 2013); United States v. Mejia, 326 F. App’x 710,

712 (4th Cir. 2009) (same). Here, no complex loss calculation is necessary. Defendants admit that

they stole and laundered 119,754 Bitcoins from Bitfinex. Lichtenstein Statement of Offense, ECF

No. 95 at ¶ 14. Bitfinex seeks the return of 109,728 Bitfinex Bitcoins seized from Defendants that

were stolen from Bitfinex.

               2.      Paying In-Kind Restitution to Bitfinex Will Not Affect Any Bitfinex
                       Customer Rights Because They Cannot Obtain In-Kind Restitution

       Regardless of whether any individuals could establish themselves as victims, Bitfinex

alone is entitled to in-kind restitution. The Government argues that only “the specific property

lost” by a victim can be subject to in-kind restitution. See Government’s Supplemental Motion

Regarding Restitution, ECF No. 202 at 1; Lichtenstein Sentencing Memo, ECF No. 146 at 28

(citing Robers, 572 U.S., at 640-41). The Bitfinex Bitcoins are Bitfinex property because they

were stolen from Bitfinex owned and controlled wallets and they are only traceable to a single

origin: Bitfinex. See supra pp. 5-6; Harmon, 474 F. Supp. 3d. at 82 (ownership of Bitcoin is based

on “possession or knowledge of the private key associated with a public key and address”). Setting

aside the fact that Bitfinex honored its customers Bitcoin positions and balances as if the Hack had

not happened, no customer to date has attempted to show that any specific Bitcoins among the

more than 100,000 Bitcoins seized by the Government are the “specific property” that they

purportedly lost. And because the Hack pooled the Stolen Bitcoins together, it is unlikely that any
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customer could do so.

        If there are any MVRA victims other than Bitfinex, such victims would not be entitled to

in-kind restitution of the Bitfinex Bitcoins, and any restitution order could be satisfied using other

property. The Government has seized hundreds of millions of dollars of assets other than the

Bitfinex Bitcoins, including thousands of other Bitcoins, which can be used to easily satisfy any

other potential order of restitution.

        Defendants’ in-kind restitution of the Bitfinex Bitcoins to Bitfinex—as required by their

plea agreements and the MVRA—will not affect any other person and will only benefit existing

Bitfinex customers.



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